
667 S.E.2d 724 (2008)
HOMEOWNERS ASSOCIATION
v.
MALLORY.
No. 130A08.
Supreme Court of North Carolina.
October 2, 2008.
John W. Gresham, Charlotte, for Mallory.
Michelle Massingale, Charlotte, for Homeowners Asso.
Brian S. Edlin, Raleigh, J. Carr McLamb, Jr., for Community Asso. Inst.
The following order has been entered on the motion filed on the 30th day of September 2008 by Community Asso. Institute for leave to file Amicus Curiae Brief:
"Motion Allowed. Unless already submitted, the Amicus Brief shall be submitted to the court within the times allowed and in the manner provided by Appellate Rule 28(i). By order of the Court in conference this the 2nd day of October 2008."
